                                           Case 4:24-cv-00012-HSG Document 16 Filed 02/07/24 Page 1 of 1



                                      1

                                      2

                                      3

                                      4

                                      5

                                      6

                                      7

                                      8
                                                                UNITED STATES DISTRICT COURT
                                      9
                                                             NORTHERN DISTRICT OF CALIFORNIA
                                     10

                                     11   JONATHAN WEAVER,               ) CASE NO. 4:24-CV-00012-HSG
Gordon Rees Scully Mansukhani, LLP




                                          individually and for others similarly
                                                                         )
                                          situated,
   101 W. Broadway, Suite 2000




                                     12                                  )
                                                                         ) ORDER RE FURTHER
       San Diego, CA 92101




                                     13                       Plaintiff, ) STIPULATION TO EXTEND
                                     14         vs.                      ) THE  RESPONSIVE PLEADING
                                                                           DEADLINE
                                                                         )
                                     15   SUNRUN INC., a Delaware        )
                                          corporation,                   ) Complaint Filed: January 02, 2024
                                     16                                  )
                                                              Defendant. ) Judge: Hon. Haywood S. Gilliam, Jr.
                                     17                                  )
                                     18

                                     19         The Court, having reviewed the Parties’ Further Stipulation to Extend the
                                     20   Responsive Pleading Deadline (“Stipulation”), Orders as follows:
                                     21         1.     The Parties’ stipulation is approved.
                                     22         2.     Defendant’s responsive pleading deadline is now February 21, 2024.
                                     23

                                     24         IT IS SO ORDERED
                                     25

                                     26         Dated: 2/7/2024                     By: ______________________________
                                                                                      Honorable Haywood S. Gilliam, Jr.
                                     27                                               Judge of the Superior Court
                                     28

                                                                                  -1-
                                           ORDER RE JOINT STIPULATION TO EXTEND THE RESPONSIVE PLEADING DEADLINE
